Case 1:18-cv-22880-JEM Document 1 Entered on FLSD Docket 07/17/2018 Page 1 of 11



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


  SHEHAN WIJESINHA
  individually and on behalf of all
  others similarly situated,                                    CLASS ACTION

          Plaintiff,                                            JURY TRIAL DEMANDED

  v.

  SUSAN B. ANTHONY LIST, INC.

        Defendant.
  __________________________________/

                                      CLASS ACTION COMPLAINT

          Plaintiff Shehan Wijesinha brings this class action against Defendant Susan B. Anthony

  List, Inc. (“SBA List”) and alleges as follows upon personal knowledge as to himself and his own

  acts and experiences, and, as to all other matters, upon information and belief, including

  investigation conducted by his attorneys.

                                       NATURE OF THE ACTION

          1.      This is a putative class action under the Telephone Consumer Protection Act, 47 U.S.C.

  § 227 et seq., (“TCPA”), arising from Defendant’s knowing and willful violations of the TCPA.

          2.      SBA List is a political group advancing pro-life laws. It is headquartered in

  Washington, DC.

          3.      Plaintiff and Class Members have no relationship with Defendant, and never provided

  their telephone numbers to Defendant.

          4.      Nevertheless, Defendant embarked on an unsolicited text message campaign, causing

  Plaintiff and class members injuries, including invasion of their privacy, aggravation, annoyance,

  intrusion on seclusion, trespass, and conversion.

                                                      1
Case 1:18-cv-22880-JEM Document 1 Entered on FLSD Docket 07/17/2018 Page 2 of 11



          5.        Through this action, Plaintiff seeks injunctive relief to halt Defendant’s illegal conduct.

  Plaintiff also seeks statutory damages on behalf of herself and Class Members, as defined below, and

  any other available legal or equitable remedies resulting from the illegal actions of Defendant.

                                      JURISDICTION AND VENUE

          6.      Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

  statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national

  class, which will result in at least one Class member belonging to a different state than Defendant.

  Plaintiff seeks up to $1,500.00 in damages for each text message that is in violation of the TCPA, which,

  when aggregated among a proposed class numbering in the tens of thousands, or more, exceeds the

  $5,000,000.00 threshold for federal court jurisdiction under the Class Action Fairness Act (“CAFA”).

          7.      Venue is proper in the United States District Court for the Southern District of Florida

  pursuant to 28 U.S.C. §§ 1391(b) and (c) because Defendant are deemed to reside in any judicial district

  in which it is subject to the court’s personal jurisdiction, and because Defendant provide and market

  their services within this district thereby establishing sufficient contacts to subject it to personal

  jurisdiction. Further, Defendant’s tortious conduct against Plaintiff occurred within this district and, on

  information and belief, Defendant sent the same text message complained of by Plaintiff to other

  individuals within this judicial district, such that some of Defendant’s acts have occurred within this

  district, subjecting Defendant to jurisdiction here.

                                                  PARTIES

          8.      Plaintiff is a natural person who, at all times relevant to this action, was a resident of

  Miami, Florida.

          9.      SBA List is a 501(c)(4) non-profit organization with its principal office located at 1200

  New Hampshire Ave NW Suite 750, Washington, DC 20036. SBA List targets Florida residents with



                                                         2
Case 1:18-cv-22880-JEM Document 1 Entered on FLSD Docket 07/17/2018 Page 3 of 11



  its political messages.

                                               THE TCPA

          10.     The TCPA prohibits: (1) any person from calling a cellular telephone number; (2) using

  an automatic telephone dialing system; (3) without the recipient’s prior express consent. 47 U.S.C. §

  227(b)(1)(A).

          11.     The TCPA defines an “automatic telephone dialing system” (“ATDS”) as “equipment

  that has the capacity - (A) to store or produce telephone numbers to be called, using a random or

  sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).

          12.     The TCPA exists to prevent communications like the ones described within this

  Complaint. See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

          13.     In an action under the TCPA, a plaintiff must show only that the defendant “called a

  number assigned to a cellular telephone service using an automatic dialing system or prerecorded

  voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755

  F.3d 1265 (11th Cir. 2014).

          14.     The Federal Communications Commission (“FCC”) is empowered to issue rules and

  regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the TCPA

  are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater

  nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and

  inconvenient. The FCC also recognized that wireless customers are charged for incoming calls whether

  they pay in advance or after the minutes are used.

          15.     A defendant must demonstrate that it obtained the plaintiff’s prior express consent

  before using an automatic dialing system to contact an individual. See In the Matter of Rules and

  Regulaions Implementing the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015)



                                                       3
Case 1:18-cv-22880-JEM Document 1 Entered on FLSD Docket 07/17/2018 Page 4 of 11



  (requiring express consent “for non-telemarketing and non-advertising calls”).

          16.      Lastly, with respect to standing, as recently held by the United States Court of Appeals

  for the Ninth Circuit:

          Unsolicited [] phone calls or text messages, by their nature, invade the privacy
          and disturb the solitude of their recipients. A plaintiff alleging a violation under
          the TCPA “need not allege any additional harm beyond the one Congress has
          identified.”

          Van Patten v. Vertical Fitness Grp., LLC, 847 F.3d 1037 (9th Cir. 2017) (quoting Spokeo,

  Inc. v. Robins, 136 S. Ct. 1540 (2016)).

          17.      Similarly, the United States Court of Appeals for the Second Circuit recently held that

  the receipt of an unsolicited call “demonstrates more than a bare violation and satisfies the concrete-

  injury requirement for standing.” Leyse v. Lifetime Entm't Servs., LLC, Nos. 16-1133-cv, 16-1425-

  cv, 2017 U.S. App. LEXIS 2607 (2d Cir. Feb. 15, 2017) (citing In re Methyl Tertiary Butyl Ether

  (MTBE) Prods. Liab. Litig., 725 F.3d 65, 105 (2d Cir. 2013) ("The injury-in-fact necessary for standing

  need not be large; an identifiable trifle will suffice."); Golan v. Veritas Entm't, LLC, 788 F.3d 814, 819-

  21 (8th Cir. 2015) (holding that receipt of two brief unsolicited robocalls as voicemail messages was

  sufficient to establish standing under TCPA); Palm Beach Golf Ctr.-Boca, Inc. v. John G. Sarris, D.D.S.,

  P.A., 781 F.3d 1245, 1252 (11th Cir. 2015) (holding that injury under similar TCPA provision may be

  shown by one-minute occupation of fax machine)).

                                                   FACTS

          18.      Defendant embarked upon an intrusive automated text messaging campaign to promote

  their pro-life political agenda.

          19.      Specifically, on July 13, 2018, Defendant placed, or caused to be placed, an automated

  text message to Plaintiff’s cellular telephone number ending in 7557 (“7557 Number”):




                                                       4
Case 1:18-cv-22880-JEM Document 1 Entered on FLSD Docket 07/17/2018 Page 5 of 11




            20.     When Plaintiff clicked on the included hyperlink, it transferred him to a video produced

  by and posted on YouTube by SBA List.

            21.     Plaintiff received the subject text within this judicial district and, therefore, Defendant’s

  violation of the TCPA occurred within this district. Upon information and belief, Defendant caused

  similar texts to be placed to individuals residing within this judicial district.

            22.     At no point in time did Plaintiff provide Defendant with his express consent to be

  contacted by telephone using an ATDS.

            23.     Plaintiff is the subscriber and sole user of the 7557 Number.

            24.     The number used by Defendant (910-96) is known as a “short code,” a standard code

  that enables Defendant to send SMS text messages en masse.

            25.     This short code was provided to Defendant by CDYNE Corporation (“CDYNE”), a

  company that hosts a text messaging platform that permitted Defendant to transmit thousands of

  automated text messages without any human involvement. In fact, on its website, CDYNE boasts that

  that its system can “Deliver thousands of messages in seconds[.]” (emphasis in the original). 1




  1
      See http://sms.cdyne.com/; (last accessed on July 17, 2018).

                                                         5
Case 1:18-cv-22880-JEM Document 1 Entered on FLSD Docket 07/17/2018 Page 6 of 11



          26.     The CDYNE platform utilized by Defendant has the current capacity or present ability

  to generate or store random or sequential numbers or to dial sequentially or randomly at the time the

  call is made, and to dial such numbers, en masse, in an automated fashion without human intervention.

          27.     Further, the impersonal and generic nature of Defendant’s text message, demonstrates

  that Defendant utilized an ATDS in transmitting the messages. See Jenkins v. LL Atlanta, LLC, No.

  1:14-cv-2791-WSD, 2016 U.S. Dist. LEXIS 30051, at *11 (N.D. Ga. Mar. 9, 2016) (“These

  assertions, combined with the generic, impersonal nature of the text message advertisements and the

  use of a short code, support an inference that the text messages were sent using an ATDS.”) (citing Legg

  v. Voice Media Grp., Inc., 20 F. Supp. 3d 1370, 1354 (S.D. Fla. 2014) (plaintiff alleged facts sufficient

  to infer text messages were sent using ATDS; use of a short code and volume of mass messaging alleged

  would be impractical without use of an ATDS)); Kramer v. Autobytel, Inc., 759 F. Supp. 2d 1165, 1171

  (N.D. Cal. 2010) (finding it "plausible" that defendants used an ATDS where messages were

  advertisements written in an impersonal manner and sent from short code); Hickey v. Voxernet LLC,

  887 F. Supp. 2d 1125, 1130; Robbins v. Coca-Cola Co., No. 13-CV-132-IEG NLS, 2013 U.S. Dist.

  LEXIS 72725, 2013 WL 2252646, at *3 (S.D. Cal. May 22, 2013) (observing that mass messaging

  would be impracticable without use of an ATDS)).

          28.     Specifically, the text messages do not identify the intended recipient by name nor

  provide any identifiable characteristic of the intended recipient. Instead the text message is drafted so

  that it can be sent out en masse without variation.

          29.     Defendant’s unsolicited text caused Plaintiff actual harm, including invasion of his

  privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion. Defendant’s text

  message also inconvenienced Plaintiff and caused disruption to his daily life.

                                        CLASS ALLEGATIONS



                                                        6
Case 1:18-cv-22880-JEM Document 1 Entered on FLSD Docket 07/17/2018 Page 7 of 11



                PROPOSED CLASS

          30.      Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

  himself and all others similarly situated.

          31.      Plaintiff brings this case on behalf of the below defined Class:

                   All persons within the United States (1) who, within the four
                   years prior to the filing of this Complaint; (2) were sent a text
                   message; (3) from Defendant or anyone on Defendant’s behalf;
                   (4) to said person’s cellular telephone number; (5) using the
                   same equipment, or type of equipment, used to text Plaintiff’s
                   cellular telephone; (6) without the recipient’s prior express
                   consent.

          32.      Defendant and their employees or agents are excluded from the Class. Plaintiff does

  not know the number of members in the Class but believes the Class members number in the several

  thousands, if not more.

             NUMEROSITY

          33.      Upon information and belief, Defendant has placed automated text messages to cellular

  telephone numbers belonging to thousands of consumers throughout the United States without their

  prior express consent. The members of the Class, therefore, are believed to be so numerous that joinder

  of all members is impracticable.

          34.      The exact number and identities of the Class members are unknown at this time and can

  be ascertained only through discovery. Identification of the Class members is a matter capable of

  ministerial determination from Defendant’s text message records.

                COMMON QUESTIONS OF LAW AND FACT

          35.      There are numerous questions of law and fact common to the Class which predominate

  over any questions affecting only individual members of the Class. Among the questions of law and

  fact common to the Class are:


                                                      7
Case 1:18-cv-22880-JEM Document 1 Entered on FLSD Docket 07/17/2018 Page 8 of 11



                       (1) Whether Defendant made non-emergency text messages to Plaintiff and Class

                           members’ cellular telephones using an ATDS;

                       (2) Whether Defendant can meet their burden of showing that they obtained prior

                           express written consent to make such text messages;

                       (3) Whether Defendant’s conduct was knowing and willful;

                       (4) Whether Defendant are liable for damages, and the amount of such damages;

                           and

                       (5) Whether Defendant should be enjoined from such conduct in the future.

          36.     The common questions in this case are capable of having common answers. If Plaintiff’s

  claim that Defendant places automated and/or prerecorded telephone numbers assigned to cellular

  telephone services is accurate, Plaintiff and the Class members will have identical claims capable of

  being efficiently adjudicated and administered in this case.

                TYPICALITY

          37.     Plaintiff’s claims are typical of the claims of the Class members, as they are all based

  on the same factual and legal theories.

                PROTECTING THE INTERESTS OF THE CLASS MEMBERS

          38.     Plaintiff is a representative who will fully and adequately assert and protect the interests

  of the Class and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

  and will fairly and adequately protect the interests of the Class.

                SUPERIORITY

          39.     A class action is superior to all other available methods for the fair and efficient

  adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

  economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the



                                                       8
Case 1:18-cv-22880-JEM Document 1 Entered on FLSD Docket 07/17/2018 Page 9 of 11



  Class are in the millions of dollars, the individual damages incurred by each member of the Class

  resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

  lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

  and, even if every member of the Class could afford individual litigation, the court system would be

  unduly burdened by individual litigation of such cases.

          40.     The prosecution of separate actions by members of the Class would create a risk of

  establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,

  one court might enjoin Defendant from performing the challenged acts, whereas another may not.

  Additionally, individual actions may be dispositive of the interests of the Class, although certain class

  members are not parties to such actions.

                                               COUNT I
                              Violations of the TCPA, 47 U.S.C. § 227(b)
                                (On Behalf of Plaintiff and the Class)

          41.     Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth herein.

          42.     It is a violation of the TCPA to make “any call (other than a call made for emergency

  purposes or made with the prior express consent of the called party) using any automatic telephone

  dialing system … to any telephone number assigned to a … cellular telephone service ….” 47 U.S.C. §

  227(b)(1)(A)(iii).

          43.     The TCPA defines an “automatic telephone dialing system” (hereinafter “ATDS”) as

  “equipment which has the capacity – (A) to store or produce telephone numbers to be called, using a

  random or sequential number generator; and (B) to dial such numbers.” Id. at § 227(a)(1).

          44.     Defendant – or third parties directed by Defendant – used equipment having the capacity

  to store telephone numbers, using a random or sequential generator, and to dial such numbers and/or to

  dial numbers from a list automatically, without human intervention, to make non-emergency telephone



                                                       9
Case 1:18-cv-22880-JEM Document 1 Entered on FLSD Docket 07/17/2018 Page 10 of 11



  calls to the cellular telephones of Plaintiff and the other members of the Class.

          45.     These text messages were sent without regard to whether Defendant had first obtained

  express permission from the text messaged party to make such text messages. In fact, Defendant did not

  have prior express consent to text message the cell phones of Plaintiff and the other members of the

  putative Class when its text messages were made.

          46.     Defendant violated § 227(b)(1)(A)(iii) of the TCPA by using an automatic telephone

  dialing system to send non-emergency telephone text messages to the cell phones of Plaintiff and the

  other members of the putative Class without their prior express consent.

          47.     All Defendant are directly, jointly, or vicariously liable for each such violation of the

  TCPA.

          48.     As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA, Plaintiff

  and Class Members were harmed and are each entitled to a minimum of $500.00 in damages for each

  violation. Plaintiff and the class are also entitled to an injunction against future calls or text messages.

          WHEREFORE, Plaintiff Shehan Wijesinha, on behalf of himself and the other members

  of the Class, prays for the following relief:

          a.      A declaration that Defendant practices described herein violate the Telephone

  Consumer Protection Act, 47 U.S.C. § 227;

          b.      A declaration that Defendant violations of the Telephone Consumer Protection Act,

  47 U.S.C. § 227, were willful and knowing;

          c.      An injunction prohibiting Defendant from using an automatic telephone dialing

  system to call or text message telephone numbers assigned to cellular telephones without the prior

  express consent of the called party;

          d.      An award of actual, statutory damages, and/or trebled statutory damages; and



                                                       10
Case 1:18-cv-22880-JEM Document 1 Entered on FLSD Docket 07/17/2018 Page 11 of 11



          e.      Such further and other relief the Court deems reasonable and just.

                                            JURY DEMAND

           Plaintiff and Class Members hereby demand a trial by jury.

                             DOCUMENT PRESERVATION DEMAND

          Plaintiff demands that Defendant take affirmative steps to preserve all records, lists, electronic

  databases or other itemization of telephone numbers associated with Defendant and the communication

  or transmittal of telephone text messages as alleged herein.



  Date: July 17, 2018



                                                                   Respectfully submitted,


                                                                   IJH Law

                                                                   /s/ Ignacio J. Hiraldo____________
                                                                   Manuel S. Hiraldo
                                                                   Florida Bar No. 0056031
                                                                   1200 Brickell Ave Suite 1950
                                                                   Miami, FL 33131
                                                                   Email: ijhiraldo@ijhlaw.com
                                                                   Telephone: 786.496.4469
                                                                   Counsel for Plaintiff

                                                                   HIRALDO P.A.

                                                                   Manuel S. Hiraldo
                                                                   Florida Bar No. 030380
                                                                   401 E. Las Olas Boulevard
                                                                   Suite 1400
                                                                   Ft. Lauderdale, Florida 33301
                                                                   Email: mhiraldo@hiraldolaw.com
                                                                   Telephone: 954.400.4713
                                                                   Counsel for Plaintiff




                                                     11
